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         EXHIBIT 7
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   2                       IN THE UNITED STATES DISTRICT COURT

   3                      FOR THE WESTERN DISTRICT OF VIRGINIA

   4                                CHARLOTTESVILLE DIVISION

   5

   6    ELIZABETH SINES, et al,       )
                                      )
   7                  Plaintiffs,     ) Civil Case No.
                                      ) 3:17cv00072-NKM-JCH
   8    vs.                           )
                                      )
   9    JASON KESSLER, et al,         )
                                      )
  10                  Defendants.     )
        ____________________________________________________________
  11

  12
                   TRANSCRIPT OF TELEPHONIC DISCOVERY HEARING
  13                HONORABLE JUDGE JOEL C. HOPPE PRESIDING
                           TUESDAY, FEBRUARY 12, 2019
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  25    Proceedings recorded FTR and transcribed using Computer-Aided
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   1                                   A P P E A R A N C E S

   2
        On behalf of Plaintiffs Elizabeth Sines, Seth Wispelwey,
   3    Marissa Blair, Tyler Magill, April Muniz, Hannah Pearce,
        Marcus Martin, John Doe, Natalie Romero, and Chelsea Alvarado:
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   6                New York, NY 10118

   7                Christopher Bradford Greene, Esquire
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                    Michael Low Bloch, Esquire
  15                Kaplan Hecker & Fink LLP
                    350 Fifth Avenue, Suite 7110
  16                New York, NY 10118

  17    On behalf of Defendants Jason Kessler, Christopher Cantwell,
        Vanguard America, Andrew Anglin, Moonbase Holdings, LLC,
  18    Robert Azzmador Ray, Nathan Damigo, Elliot Kline, also known
        as, Eli Mosely, Identity Evropa, Matthew Heimbach, Matthew
  19    Parrott, also known as David Matthew Parrott, Traditionalist
        Worker Party, Michael Hill, Michael Tubbs, Jeff Schoep,
  20    National Socialist Movement, Nationalist Front, Augustus Sol
        Invictus, Fraternal Order of the Alt-Knights, Michael Enoch
  21    Peinovich, Loyal White Knights of The Ku Klux Klan, East Coast
        Knights of The Ku Klux Klan, also known as East Coast Knights
  22    of The True Invisible Empire, and Natalie Romero:

  23                James Edward Kolenich, Esquire
                    Kolenich Law Office
  24                9435 Waterstone Blvd., Suite 140
                    Cincinnati, OH 45249
  25



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   1                            A P P E A R A N C E S cont'd

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                  John A. DiNucci, Esquire
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   5    On behalf of League of the South:
                  Bryan Jeffrey Jones, Esquire
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   7              Charlottesville, VA 22902

   8    On behalf of James Fields:
                  David Leon Campbell, Esquire
   9              Duane, Hauck, Davis & Gravatt, P.C.
                  100 West Franklin Street, Suite 100
  10              Richmond, VA 23220

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   1            (Telephonic proceedings commenced at 12:31 p.m.)

   2                 THE COURT:            Hi, this is Joel Hoppe.                      Who is on the

   3    line for the plaintiff?

   4                 MS. TENZER:             Good afternoon, Your Honor.                         This is

   5    Gabrielle Tenzer at Kaplan Hecker & Fink on behalf of the

   6    plaintiffs.       I'm here with my colleague Chris Greene.                                    And I

   7    believe there are others on the phone on behalf of plaintiffs

   8    who are dialed in from other locations.

   9                 MS. PHILLIPS:              Hi, Your Honor.                This is Jessica

  10    Phillips from Boies Schiller Flexner, I'm also on the line for

  11    plaintiffs.

  12                 MR. LEVINE:             And Alan Levine from Cooley,

  13    Your Honor, along with Michael Bloch from Kaplan Hecker &

  14    Fink.

  15                 THE COURT:            All right.            Good afternoon, you all.

  16                 And then who do we have on the line for the

  17    defendants?

  18                 Mr. Kolenich, are you on the phone?

  19                 MR. KOLENICH:              Yes, sir, I'm with Mr. Kessler and

  20    various other defendants.

  21                 THE COURT:            All right.            How about Mr. DiNucci?

  22                 MR. DINUCCI:             I'm here, Your Honor, for Mr. Spencer.

  23                 THE COURT:            All right.            And let's see, who else do

  24    we have on the line?

  25                 MR. JONES:            Bryan Jones here for League of the



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   1    South.

   2                 THE COURT:            All right.

   3                 MR. CAMPBELL:              Good afternoon, Judge.                      This is Dave

   4    Campbell for James Fields.                    Just jumped on here a little late.

   5                 THE COURT:            Okay.       Well we were just figuring out

   6    who's on the phone, so you haven't missed anything.

   7                 All right.            Anyone else on the line?

   8                 Okay.        Counsel, this call is being recorded by the

   9    court's FTR system, so there is a record of the call.

  10                 And as I understand it, Ms. Tenzer, from your

  11    e-mail, there's some deadlines that you would like to have set

  12    so that discovery can move forward and come to a completion in

  13    very short order, recognizing that we're really about two

  14    months away from the close of discovery.

  15                 MS. TENZER:             Yes, Your Honor.                Thank you.

  16                 If it's okay, I'll sort of lay out for the Court

  17    where things stand and the issue at hand.                                I think it's pretty

  18    straightforward.           As you know, the Court ordered the

  19    collection and imaging and production of ESI from the

  20    defendants' devices and social media accounts.                                    And as part of

  21    that stipulation and order, the parties were to enter into a

  22    contract with a third-party vendor as the first step in that

  23    process.     We sent the draft contract to the defendants at the

  24    end of December.           It's now almost mid-February and we still

  25    don't have an executed contract.                        So that's the first order of



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   1    business.

   2                But due to the challenges of getting the contract in

   3    place, we're, you know, equally if not more concerned about

   4    what will ultimately happen once the contract is, in fact, in

   5    place.   In order to go through this process, the vendor is

   6    going to need actual physical access to the defendants'

   7    devices; their phones, their computers.                             They're going to need

   8    credentials so that they can access those devices, as well as

   9    their social media accounts.                    And based on the length of time

  10    it has been taking to get even just the contract in place,

  11    we're very, very concerned with how the rest of the process is

  12    going to move forward.

  13                Just to give Your Honor a sense, we understand from

  14    the vendor that even once the contract is signed and they have

  15    access to the accounts and the devices, it's probably going to

  16    take them, you know, assuming everything actually goes

  17    smoothly, about a month on their end to do all the collection

  18    on the processing on the front end and the back end.                                         So that

  19    doesn't even include the time that the defendants' counsel

  20    would require to review the documents before they're -- they

  21    select which documents are relevant and not privileged to be

  22    produced to us.

  23                So even if the contract were signed this week, which

  24    we hope that it can be, realistically, if everything goes

  25    well, unfortunately, it looks like we wouldn't see any



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   1    documents from the defendants until probably April.

   2                 So we would like to discuss with the Court a way of

   3    ensuring that the process moves forward as expeditiously as

   4    possible, but we also wanted to raise with the Court,

   5    unfortunately, what seems to be the fact that the documents

   6    won't be available to us until at least April.                                   And, you know,

   7    we feel that there -- you know, due process entitles us to be

   8    able to obtain and review those documents before we notice

   9    defendants' depositions, so we have a bit of a scheduling

  10    conundrum.

  11                 THE COURT:           All right.            Well, let's -- let's address

  12    any scheduling issues at the end.

  13                 Mr. Kolenich, why don't we start with you.                                       What's

  14    going on with the contract?

  15                 MR. KOLENICH:             Thank you, Your Honor.                      I think

  16    there's only one issue remaining with the contract.                                          We've had

  17    a couple productive calls with the third-party vendor,

  18    plaintiffs' counsel and defense counsel and there's just one

  19    issue, in my opinion, that's holding things up, or at least

  20    that's holding me up from signing the contract, which is this

  21    indemnification clause.                They want us to indemnify them up to

  22    a million dollars for any third parties that might sue them

  23    because information, their private information that's on my

  24    client's devices would be then in possession of a third-party

  25    vendor or potentially, you know, lawyers' offices, plaintiffs'



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   1    lawyers and so forth.

   2                 And I think that, you know, we raised objection

   3    collectively, the defendants, that we shouldn't have to

   4    indemnify them for just anything, but only for our own acts or

   5    omissions.     And I think we sort of agreed with that, but the

   6    third-party vendor wasn't happy with that.                                So we're in the

   7    process of working that out.                    I think a couple potential

   8    solutions present themselves.                     One is that the plaintiffs

   9    agree to do that indemnification while retaining their right

  10    to come to court.           The main contribution from us if

  11    indemnification actually is necessary.                            The other is that the

  12    court simply orders us to sign that, which independent of our

  13    inability to actually pay the indemnification, or just put in

  14    the contract that the third-party vendor understands that

  15    defendants, or at least certain defendants who have

  16    represented to this court that they can't afford this, can't

  17    afford the indemnification either.                         So something simple like

  18    that would solve it and then at least my clients would be able

  19    to sign the contract.

  20                 As to the rest of Ms. Tenzer -- well, you wanted to

  21    put that off until later, so that's all I have, Your Honor.

  22                 THE COURT:           Okay.       And Mr. DiNucci, Mr. Jones,

  23    Mr. Campbell, is that your concern as well with the contract?

  24    Are there any additional concerns or issues?

  25                 MR. DINUCCI:            This is John DiNucci.                     I join in



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    1   Mr. Kolenich's remarks.                 If I remember correctly, I'm looking

    2   right now at the last draft indemnification language which I

    3   believe came from the third-party vendor.                                The way I still

    4   read it is if somebody, meaning not the defendants, were to

    5   call as a witness somebody from the third-party vendor, the

    6   defendants would be responsible for paying the third-party

    7   vendor's fees, which I don't understand.                               But I certainly join

    8   in Mr. Kolenich's concern as well.                          I mean, and that is, as

    9   Mr. Kolenich indicated, at least as I recall, the only issue

   10   the language in this indemnification provision.

   11                We've had several conference calls with plaintiffs'

   12   counsel about it.            There's been an exchange of e-mails and I

   13   think I sent a letter on the defense side sometime ago.                                         So

   14   we've been working towards conclusion and then we get this

   15   notice that plaintiffs want a conference call with Your Honor.

   16                So we're close, it's just this indemnification

   17   language is tricky.              And I got to -- I mean, how do you foist

   18   that upon your client, say sign something that's going to make

   19   you liable for somebody else's mistake?

   20                THE COURT:            Well, and is this -- the indemnification

   21   provision, this is something that the third-party vendor is

   22   insisting on?

   23                MR. DINUCCI:             That's one way to interpret.                            The last

   24   e-mail I saw was from Miss Brennan and it's dated February

   25   the 4th.     And she indicated IES proposed the following



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    1   language, then she had a redraft of the earlier

    2   indemnification provision that we've been discussing with

    3   plaintiffs' counsel.

    4                THE COURT:            All right.            Ms. Tenzer, is this, the

    5   indemnification, is that something that the vendor is

    6   insisting?

    7                MS. TENZER:             Your Honor, it is an issue between the

    8   vendor and the defendant.                   We really don't have, you know, a

    9   dog in that fight, so to speak.                        It's our understanding the

   10   vendor has been trying, as Mr. DiNucci indicated, by making

   11   alternative proposals and I think is trying to work something

   12   out with the defendants.                  And, you know, again, it's not sort

   13   of our issue, but if there's anything that we could do to help

   14   facilitate those negotiations, obviously, we're happy to do

   15   that.    But that is, as we understand, the one outstanding item

   16   and it is something that the vendor is looking for and that I

   17   believe is sort of -- is the standard in these kinds of

   18   contracts.      But, again, it's my understanding that they are

   19   trying to work with defense counsel to try to work something

   20   out.

   21                THE COURT:            Okay.       All right.

   22                Mr. Jones and Mr. Campbell, do you all have anything

   23   to add?

   24                MR. JONES:            I don't, Your Honor.                    This is Bryan

   25   Jones.



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    1                MR. CAMPBELL:              This is Dave Campbell.                      I would just

    2   add that my client's electronic devices are still in the

    3   possession of the FBI.                And I think we're not really involved

    4   in this dispute, haven't been asked to endorse the contract.

    5   I just wanted to make sure I participated because I've seen a

    6   lot of information seemed to reference potential problems with

    7   timing and that kind of thing, so I just wanted to make sure I

    8   was on the call for anything in that regard.

    9                THE COURT:            All right.            I got you.

   10                MR. CAMPBELL:              Yes, sir.

   11                THE COURT:            Well, you know, this does seem like this

   12   is an issue -- well, it is an issue between the vendor and the

   13   defendants at this point.                   And this has just got to move

   14   forward.     This one issue cannot throw off the entire case

   15   schedule.

   16                So, Mr. Kolenich and Mr. DiNucci and Mr. Jones, you

   17   all will need to just, and encourage the plaintiffs to try and

   18   facilitate this as best as possible to move things forward.

   19   But you all just need to, you know, have some more discussions

   20   with the vendor.           But this contract has got to be signed by

   21   Friday, whatever form the indemnification is in or not.                                       And

   22   I'm not going to -- you know, without having the third-party

   23   vendor on the phone, I'm not going to tell them they have to

   24   give up that, you know, that language if that's a customary

   25   provision that's in the agreements that they use.                                      So, what I



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    1   would like you all to do is to wrap up the negotiations on

    2   that and have the contract signed by this Friday.

    3                MR. DINUCCI:             Your Honor, could I inquire of the

    4   court on a particular point?

    5                THE COURT:            Sure.

    6                MR. DINUCCI:             I clearly understand your point that

    7   we're going to have to wrap this up, and that the vendor, if

    8   it is customary, we'll get language saying that the defendants

    9   have to indemnify the vendor if third parties complain that

   10   their confidential information has been leaked, for lack of a

   11   better word.        That's indemnification issue number one.

   12                But indemnification issue two is why should the

   13   defendants have to pay if for some reason the plaintiffs call

   14   the third-party vendor as a witness in this lawsuit?                                          That

   15   should be the plaintiffs' responsibility if for some reason

   16   they think they need testimony from the third-party vendor.

   17                MS. TENZER:             Your Honor, if I may.                    I don't

   18   understand that to be an issue.                        But I will say that if that

   19   is the issue, if we were to call the third-party vendor in

   20   this litigation, which -- we would not ask the defendants to

   21   pay for that.

   22                THE COURT:            Yeah.       I would think that whatever party

   23   calls the vendor would be responsible for paying that.

   24                MR. DINUCCI:             Thank you.

   25                THE COURT:            Okay.       Now, Ms. Tenzer, you've asked if



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    1   the devices would be turned over at the time, and social media

    2   accounts, is access to those provided at the time that the

    3   contract is entered into?

    4                Mr. Kolenich, is there any problem with that?                                        It

    5   does seem like these things need to be provided to the vendor

    6   as soon as possible.

    7                MR. KOLENICH:              I'm sorry, Your Honor, are you

    8   discussing turning over the parties' electronic devices?

    9                THE COURT:            That's right.

   10                MR. KOLENICH:              No.      As I understand it, there's

   11   no -- most of my clients are squared away with just sending it

   12   in these Faraday bags that the vendors will send.                                      One or two

   13   of them, like, if there's a larger device, if there's

   14   someplace they can meet near where the client is.                                      I think the

   15   third-party vendor is used to dealing with this issue.                                        I

   16   don't foresee it being a problem.                         All of my people, as best I

   17   can tell, and as you know I have a large number of individuals

   18   I'm representing, I understand that they're going to have to

   19   turn these devices over and they're prepared to do it.

   20   They're prepared to be without their devices for a day, day

   21   and a half, whatever it is, two days, you know, to send it

   22   there, have it imaged and sent back.

   23                THE COURT:            Okay.       All right.            Mr. DiNucci.

   24                MR. DINUCCI:             I actually have two of my clients'

   25   devices here, Your Honor.                   We're just waiting to see what



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    1   we're told to do and how to do it by the third-party vendor.

    2   The idea is to get them done expeditiously so we can get the

    3   original devices back.                I think there the interests of both

    4   sides converge.

    5                THE COURT:            Okay.       And Mr. Jones.

    6                MR. JONES:            Yes, Your Honor.                I have one client who,

    7   you know, the phone that he uses and that will need to be

    8   imaged is both his only personal phone and his work phone.                                          So

    9   we'll just need to make arrangements, but he is certainly

   10   willing to comply.             I had talked to him previous, one of the

   11   plaintiffs' counsel about setting something up where he could

   12   just go plug it in in home town, you know, where he lives, so

   13   he doesn't have to mail it out.                        But he's certainly willing to

   14   comply and turn it over.

   15                THE COURT:            Okay.       All right.            And, Ms. Tenzer, is

   16   there -- do you have concerns about the timing there?                                         It

   17   sounds like it would be the third-party vendor would provide

   18   the means for the defendants to submit their devices.                                         And

   19   then, you know, any other -- if there's social media access,

   20   things like that.

   21                MS. TENZER:             No.      I appreciate what defense counsel

   22   has said on the phone.                I think that, in addition, the

   23   vendor -- again, I don't want to speak for the vendor -- but I

   24   think the vendor will need certain credentials and so forth to

   25   be able to get into the devices and the social media accounts.



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    1                And it may be useful if defense counsel can start

    2   pulling those all together to provide to the vendor so that

    3   once they get the devices and the account, they can

    4   immediately start performing the work that they need.

    5                I'll also just add that, you know, we -- again, we

    6   appreciate that everybody wants to do this expeditiously.                                     I

    7   think we probably want to have some sort of media status

    8   conference or something with the Court to ensure that

    9   everything is moving forward once the contract is signed.

   10                MR. DINUCCI:             Can I interject a comment?

   11                THE COURT:            Sure.       Go ahead.

   12                MR. DINUCCI:             This is coming from a technical

   13   incompetent; me.           I think it would be helpful if as we work

   14   with the third-party vendor on the contract, we also learn

   15   directly from the third-party vendor what it would need to

   16   access these social media accounts.                           I don't even know the

   17   nomenclature, so if the third-party vendor can tell us what it

   18   needs in simple English it would be helpful.

   19                MS. TENZER:             I agree.          And I think it probably makes

   20   sense to set up a call with the vendor this week, which we

   21   would not participate in but the defense counsel and the

   22   vendor could participate.

   23                THE COURT:            You know, I think that would make some

   24   sense.    Mr. DiNucci and defense counsel, are you all amenable

   25   to setting up a call or for having some way of getting the



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    1   information from the third-party vendor so that you all can be

    2   ready to comply with their instructions?

    3                MR. DINUCCI:             Certainly.            No problem here,

    4   Your Honor.

    5                MR. KOLENICH:              Yeah, we'll communicate with the

    6   vendor and get that done.

    7                THE COURT:            Okay.

    8                MR. JONES:            Not a problem.

    9                MR. CAMPBELL:              Judge, I'm happy, if I need to, but

   10   my understanding is I don't, but I'll certainly make myself

   11   available if I need to.

   12                THE COURT:            Okay.       All right.            What else?               What else

   13   do we need to address at this point?                            I know there aren't any

   14   deadlines in the stipulation about how long counsel will need

   15   to review the documents or the -- what's received from the

   16   third-party vendor for responsiveness and privilege and so

   17   forth and then to produce that information.                                 But that may be

   18   something that we'll, you know, that we need to go ahead and

   19   figure out a time frame for.

   20                MS. TENZER:             Your Honor.

   21                THE COURT:            Yes.

   22                MS. TENZER:             I do think along those lines another

   23   thing that the parties could be doing to help make this move

   24   forward as quickly as possible would be in light of the topic

   25   that you just raised, the review of the documents by defense



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    1   counsel, I think under the stipulation there's supposed to be

    2   a negotiation regarding search terms and those types of

    3   things.    If we could start doing that sooner rather than

    4   later, that would probably help to move things along.

    5                THE COURT:            Yeah.       Mr. Kolenich, what do you think

    6   about that, go ahead and start talking about search terms?

    7                MR. KOLENICH:              We can.

    8                THE COURT:            Start talking about how long you all

    9   think you may need to perform that review, then produce the

   10   documents.

   11                MR. KOLENICH:              Well, that gets again to the issue of

   12   who's footing the bill for those, which is plaintiffs on the

   13   first instance.           It's been my experience that the third-party

   14   vendors can expedite review of the results and these images

   15   for an advanced fee, or an additional fee.                                 And that can be

   16   done in just a couple days per device.                             So the imaging takes a

   17   day, you know, and the turn around of the second day is just

   18   mailing it back.           Then they have the data, they do their

   19   initial processing of the data, then we submit search terms

   20   for X time limitations, whatever it is we're going to submit.

   21                I don't think there's any negotiation between the

   22   parties on that.           Whatever the plaintiffs want to search for,

   23   they can search for.               That's the point of this exercise.                         Then

   24   we do the review for privilege, creative privilege or

   25   production.       As long as the third-party vendor, and they



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    1   always have been in my experience, is willing to expedite that

    2   for us so that we don't have to go and fumble through the

    3   relativity on our own, which would delay things.                                      There's

    4   going to be a fee for that.                    As long as plaintiffs' foot the

    5   bill for that in the first instance, I think the turnaround

    6   time can be just a couple days per device.                                 The third-party

    7   vendor will give us the results of the searches.                                      We'll tell

    8   them what needs to be redacted from the privilege log, that's

    9   a quick process, as long as somebody is footing the bill for

   10   their participation.

   11                THE COURT:            All right.            Ms. Tenzer, what's your view

   12   of that?

   13                MS. TENZER:             Frankly, I'm not sure I understand what

   14   Mr. Kolenich is saying.                 In my limited experience, you mean

   15   the data will be processed by the vendor and then the

   16   attorneys review the documents.                        You agree on search terms,

   17   they get run against the data, and then attorneys review the

   18   data.    I don't know what other procedures Mr. Kolenich is

   19   referring to.         I mean, we're happy to discuss whatever

   20   processes he's talking about, but I'm -- I'm not sure I know

   21   what he's talking about.

   22                THE COURT:            Well, is it your understanding that the

   23   third-party vendor will receive search terms from the parties

   24   and then mirror the universe of documents?                                 Is that the

   25   process?



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    1                MS. TENZER:             Yeah.       If the vendor will run search

    2   terms against the data, yes.

    3                THE COURT:            And then it would be from that career

    4   path to the search terms that narrow the documents that the

    5   defendants would then do their review for privilege and

    6   responsiveness.

    7                MS. TENZER:             Exactly.

    8                THE COURT:            All right.            Mr. Kolenich, so would

    9   that --

   10                MR. KOLENICH:              That's all correct, Your Honor.                       It's

   11   just that it goes a lot faster with the ESI professionals

   12   assisting us with the search.                      And they always add a charge

   13   for that service, in my experience.                           Again, my experience is

   14   also limited.         I don't mean to try to trump Ms. Tanzer's

   15   experience, she's certainly superior to mine, but --

   16                MS. TENZER:             I don't know about that.

   17                THE COURT:            All right.            Mr. Kolenich, the search

   18   that you're talking about is after -- after the fact.

   19                MR. KOLENICH:              After.         Right.

   20                Just for creating a privilege log and then they get

   21   production, they have it.

   22                THE COURT:            Okay.       Well, why don't -- here's what I

   23   would suggest.          Why don't you all talk this through a bit more

   24   about the timing and the different steps and how, you know,

   25   how the search and the review and the production will go and



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    1   see if you all can't come up with some guidelines and some

    2   deadlines for that.              And if there are issues, let me know.

    3   We'll probably need to talk about how that fits into the

    4   overall schedule.            And perhaps we can -- perhaps we can do

    5   that and see how the -- I guess the delivery of the devices

    6   and social media accounts, how that is all progressing.                                       We

    7   can do that all at a status conference.                              And perhaps next

    8   Friday?    Or Thursday?

    9                MS. TENZER:             That sounds like a great plan,

   10   Your Honor.

   11                THE COURT:            Why don't we -- do you all want to do

   12   next Thursday afternoon?                  I'll get Karen to confirm, but I do

   13   have some time later in the afternoon on Thursday.

   14                MS. TENZER:             That works for plaintiff, Your Honor.

   15                MR. KOLENICH:              That would work, I'm available.

   16                THE COURT:            Let's see, Mr. Kolenich, are you

   17   available sometime that afternoon?

   18                MR. KOLENICH:              Yes, sir.

   19                THE COURT:            All right.            Mr. DiNucci, are you

   20   available that afternoon as well?

   21                MR. DINUCCI:             Yes, I am, Your Honor.

   22                THE COURT:            Okay.       Mr. Jones?

   23                MR. JONES:            Yes, Your Honor, I'm available.

   24                THE COURT:            Okay.       Again, Mr. Campbell, at this

   25   point I don't know that that's something that you would need



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    1   to participate in.

    2                Ms. Tenzer, do you have a different view?

    3                MS. TENZER:             No, Your Honor, I don't believe that

    4   Mr. Fields is part of the stipulation.

    5                THE COURT:            Okay.

    6                MR. CAMPBELL:              That sounds good.                  I would just

    7   mention if anyone is ever discussing moving the trial date or

    8   anything along those lines, I would ask to be a part of that

    9   conversation.

   10                THE COURT:            Okay.       Why don't you plan -- since we

   11   will be discussing scheduling issues, why don't you plan on

   12   calling in.

   13                MR. CAMPBELL:              Yes, sir.

   14                THE COURT:            Next Thursday.               Why don't we -- does

   15   3:00 work for everybody?

   16                MR. KOLENICH:              (Inaudible.)

   17                MR. DINUCCI:             Yes, Your Honor.

   18                THE COURT:            Okay.

   19                All right.            Let's plan on that.                   We'll get a notice

   20   out for a conference call for next Thursday, which the 21st,

   21   at 3:00 p.m.

   22                Now, Ms. Tenzer, is there anything else that we need

   23   to address today?

   24                MS. TENZER:             There is one other thing we wanted to

   25   mention, Your Honor, and see if you could advise us.                                          And I



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    1   apologize for bringing it up without having previewed it.                                         But

    2   we had served a subpoena on Twitter early last year.                                          And you

    3   may recall, this is Mr. Peinovich had moved to quash and

    4   Your Honor denied that motion.                       Mr. Peinovich then appealed

    5   your decision to Judge Moon.                     Judge Moon then issued his

    6   decision on the motion to dismiss and dismissed Mr. Peinovich

    7   from the case and then asked the parties to meet and confer

    8   and advise the Court whether they thought any additional

    9   briefing would be needed based on Mr. Peinovich's change in

   10   status.    And the parties made those filings.                                But Judge Moon

   11   has yet to do anything on Mr. Peinovich's appeal of your

   12   decision.      And we were sort of hoping you could give us some

   13   advice as to what we might do to get that taken care of so

   14   that we could hopefully move forward with the subpoena on

   15   Twitter.

   16                THE COURT:            Okay.       We'll notify Judge Moon's

   17   chambers that that is a live issue that you all want to move

   18   forward on and make sure that they're aware of that.

   19                MS. TENZER:             Thank you, Your Honor.                     We appreciate

   20   that.

   21                THE COURT:            All right.            Anything from the

   22   defendants' side that we should address today?

   23                MR. KOLENICH:              No, sir.

   24                THE COURT:            All right.

   25                MR. DINUCCI:             No, Your Honor.



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    1                THE COURT:            Okay.       Well, counsel, thank you all for

    2   calling in and we'll be back on the phone next Thursday.

    3   Thank you.

    4                MS. TENZER:             Thank you, Your Honor.

    5         (Teleconference concluded at 1:00:52 p.m.)

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    1                                 REPORTER'S CERTIFICATE

    2

    3               I, DONNA J. PRATHER, do hereby certify that the

    4   above and foregoing, consisting of the preceding 23 pages,

    5   constitutes a true and accurate transcript of my stenographic

    6   notes and is a full, true and complete transcript of the

    7   proceedings to the best of my ability.

    8               Dated this 19th day of February, 2019.

    9

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                                    DONNA J. PRATHER, RPR, CRR, CBC, CCP
   11                               Federal Official Court Reporter

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